Case 6:23-cv-00034-NKM Document 8 Filed 10/12/23 Page1lof2 Pageid#: 47

AO 440 (Rev. 06/12) (12/22 WD/VA) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

Carrie N. Thomas, a/k/a Jocelyn R., pro se

Plaintiff

v. Civil Action No. 6:23cv34

Ronald Freels, Division Chief, DOD CAF

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Ronald Freels, Division Chief, Adjudications Directorate
Department of Defense, Consolidated Adjudications Facility (DOD CAF)
Building 600 10th Street
Fort George G. Meade, MD 20755-5615

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Carrie Nicole Thomas, pro se

145 Northvail Dr.

Madison Heights, VA 24572-2737
202-603-8239

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: Oolber /a, 2023

SS Signature of Clerk og Deputy Clerk>
Case 6:23-cv-00034-NKM Document 8 Filed 10/12/23 Page 2of2 Pageid#: 48

AO 440 (Rev. 06/12) (12/22 WD/VA) Summons in a Civil Action (Page 2)

Civil Action No. 6.930y34

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

[_] I personally served the summons on the individual at (place)

on (date) + or

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; OF
_] I returned the summons unexecuted because ; or
L] Other (specify):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address
Additional information regarding attempted service, etc:

